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                                                                                 FILED
                                                                                 01 -28-2020
                                                                                 John Barrett
                                                                                 Clerk of Circuit Court
STATE OF WISCONSIN              CIRCUIT COURT     MILWAUKEE COUNTY               2020CV000758
                                CIVIL DIVISION                                   Honorable Mary Triggiano
                                                                                 13
                                                                                 Branch 13
PAUL R. CON FORTI,
11123 Sewell Drive
Louisville, KY 40291                                   Case No.

               Plaintiff,                              COMPLAINT

and                                                    Personal Injury Other 30107
                                                                        —




                                                       [Trial by Jury Demandedi
HUMANA CARESOURCE,
do Legal Department
230 North Mail Street
Daytona, OH 45402,

ABC INSURANCE COMPANY


               Involuntary’ Plaintiffs,

V.


CITY OF FRANKLIN,
do Sandra L. Wesolowski, City Clerk
9229 West Loomis Road,
Franklin, WI 53132

OFFICER CHRISTOPHER RYDELSKI,
Franklin Police Department
9455 W. Loomis Road
Franklin, WI 53132,

OFFICER GARY WALLACE,
Franklin Police Department
9455 W. Loomis Road
Franklin, WI 53132,

I .EAGUE OF WISCONSIN MUNICIPALITIES MUTUAL INSURANCE.
do Matthew Becker, Registered Agent
402 Gammon Place, Suite 225
Madison, WI 53719

               Defendants.




                                                                                               EXHIBIT

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          NOW COMES Plaintiff, PAUL R. CON FORTI, by his attorneys, Scott B. Thompson and

Mark L. Thonisen, ofGINGRAS. TI-IOMSEN & WACHS. LLP, and complains against the above-

named Defendants, and for his claims for relief, alleges and shows to the court as follows:

                                     I.         INTRODUCTION

          I.    This is a civil rights action under 42 U.S.C.   §   1983 to redress the deprivation under

color of law of Plaintiff’s rights to be free of illegal stop, unlawful arrest, and excessive force by

police.

                                          II.     PARTIES

          2.    That at the time of the incident, the plaintiff, Paul R. Conforti, was an adult resident

of the United States, living in the greater Milwaukee area at the time period surrounding the

principal events of this complaint. Mr. Conforti now resides at 11123 Sewell Drive, Louisville,

KY 40291. Mr. Conforti suffered severely on January 7,2019, through to this day, and into the

future, as a result of Defendants’ unlawful conduct.

          3.    That at the present time, the involuntary plaintiff, Humana CareSource (hereinafter

“Hurnana”), is a foreign corporation, duly organized and existing under and by virtue of the laws

of the State of Wisconsin, with offices of its Registered Agent, Legal Department, located at

Humana CareSource, 230 North Main Street, Dayton, OH 45402; that Hurnana had paid medical

and related bills on behalf of plaintiff, Paul Conforti, as a result of injuries he sustained in this

incident that is the subject to his lawsuit; that Hurnaria has no legal right to subrogation or

reimbursement despite its payment of benefits, but by reason of such payments, Hurnana is a

proper party herein pursuant to sec. 803.03, \Vis. Stat.




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        4.     That ABC Insurance Company (“ABC”), is the fictitious name for an unknown

insurance company, the identity and location of which is unknown, that upon information and

belief paid medical and related bills on behalf of plaintiff, Paul Conforti, as a result of injuries he

sustained in this incident that is the subject to his lawsuit; that ABC has no legal right to

subrogation or reimbursement despite its payment of benefits, but by reason of such payments,

ABC is a proper party herein pursuant to sec. 803.03, 807.12 Wis. Stats.

        5.     That at the present time, the defendant, City of Franklin (hereinafter “Franklin”), is

a municipal government located within the State of Wisconsin with its primaty address as 9229

West Loomis Road, Franklin, Wisconsin, 53132. Franklin established, operated and maintained

the Franklin Police Department (hereinafter “FPD”) at all times material hereto; Franklin is

ultimately responsible for the training, supervising, and discipline of FPD employees and the

creation and implementation of its policies and procedures through its Chief of police, and had

ultimate control and authority over FPD and all Defendants, and pursuant to Wis. Stat.       §   895.46,

is obligated to indemnify all Defendants in this action.

       6.      That at the time of the incident that is the subject of this lawsuit, the defendant,

Officer Christopher Rydelski, was an adult citizen of the State of Wisconsin; that on information

and belief, at all times material hereto, Officer Christopher Rydelski was an employee/agent of the

defendant, FPD, and at all times relevant to this action and was acting under color of law and

within the scope of his employment with the FPD or Franklin at all times relevant hereto.

       7.      That at the time of the incident that is the subject of this lawsuit, the defendant,

Officer Gay Wallace, was an adult citizen of the State of Wisconsin; that on information and

belief, at all times material hereto, Officer Gaty Wallace was an employee/agent of the defendant,




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FP[), and at all times relevant to this action and was acting under color of law and within the scope

of his employment with the FPD or Franklin at all times relevant hereto.

        8.      That the present time, the defendant, League of Wisconsin Municipalities Mutual

Insurance, (hereinafter “LWMMI”), is an Wisconsin insurance corporation, duly licensed in the

State of Wisconsin, with offices of its Registered Agent, Matthew Becker, located at Leauge of

WI Municipalities Mutual Ins., 402 Gammon Place, Suite 225, Madison, WI 53719; that said

defendant is engaged in the business of writing and selling a policy of liability insurance covering

the conduct of Defendant Officers Rydelski and Wallace which forms the subject matter of this

complaint. That by virtue of the laws of the State of Wisconsin, LWMMI is a proper defendant

herein and is directly liable to the plaintiff for his injuries and damages set forth herein.

                        III.    GENERAL FACTUAL ALLEGATIONS

       9.       On January 7,2019, Mr. Conforti saved his friend’s life.

        10.     In exchange for his compassion, Defendants Rydelski and Wallace of the Franklin

Police Department rewarded Mr. Conforti by violently attacking him as he later left the hospital

his friend was still receiving treatment.

        II.    That evening, Mr. Conforti and two friends, Michael Reals and Randi Slomski,

were socializing in southeastern, Wisconsin.

        12.    As the night drew to a close, the trio began to part ways.

        13.    While they were walking towards Mr. Conforti’s truck, Mr. Beals began to panic.

        14.    Mr. Conforti quickly recognized that Mr. Beals was suffering—he watched Mr.

Beals’ breathing grow increasingly labored, while his movements became erratic.

        15.    Mr. Conforti recognized a medical emergency—Mr. Reals was choking.

        16.    At that moment Mr. Conforti sprang into action.




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           17.     With the aid of Ms. Slornski, Mr. Confoiti help
                                                                   ed to calm Mi. Beats’ movements,
  and removed an obstruction from Mr. Beals’ airw
                                                  ay.
          18.     Mr. Conforti dialed 911.

          19.     The ambulance arrived on scene, shortly there
                                                                after.
          20.     The emergency responders informed Mr. Con
                                                            forti and Ms. Slomski that they could
  accompany Mr. Beats in the ambulance on the
                                              ride to the hospital.
         21.      Thanks to Mr. Conforti’s quick actions, Mr.
                                                              Deals lived.
         22.      Sadly, the FPD. and Defendants Rydeiski and
                                                              Wallace, were not going to let a good
 deed go unpunished.

         23.      As Mr. Reals regained consciousness in his
                                                             hospital room, he grew confused and
 disoriented.

         24.     Hospital staff indicated that Mr. Deals wou
                                                             ld he administered additional
 medication.

        25.      Mr. Deals resisted this decision from hospital staff
                                                                      because he was already on other
medication.

        26.      Mr. Beals grew unruly as the scene unfolded
                                                             , and the hospital staff called the police
regarding Mr. Beats,

        27.      The January 8, 2019 reports of both Defendan
                                                              t Wallace and Defendant Rydelski,
establish that the police were called specifically
                                                     over Mr. Deals’ behavior, not that ofMr. Conforti
                                                                                                       .
        28.      At around 11:39 pm, as the police arrived, Mr. Con
                                                                       forti left the hospital room and
walked toward the fm’ont desk with Ms. Slornski
                                                   .




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         29.    Mr. Conforti was concerned for Mr. Beats’ ongoin
                                                                 g safety and was upset that
hospital staff appeared to be putting Mr. Beats’ life
                                                      in danger for a second time by administering

additional medication.

        30.     Mr. Conforti became upset in the hospital lobby while
                                                                      he feared for his friend’s life
for the second time that night.

        3 1.    After only ninety (90) seconds in the lobby (between
                                                                     11:39 pm and shortly before
11:41 pm), Mr. Conforti decided to leave.

        32.     Hospital security footage shows Mr. Conforti calmly
                                                                    leaving the building at 11:40
pm.




       33.     Mr. Conforti walked out into the parking lot to call a cab
                                                                          and go home.
       34.     Ms. Slomski stayed behind after Mr. Conforti left.




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         35.     Around forty (40) seconds after Mr. Conforti calmly
                                                                     left the building, at 11:41 pm,
 Defendants Rydeiski and Wallace entered the hospita
                                                     l lobby.




        36.     According to Defendant Wallace’s January 8,2019
                                                                report, the woman at the front
desk told him that “[Mr. Conforti) already left.”

        37.    Immediately, Defendants Rydelski and Wallace left
                                                                 the building to chase Mr.
Conforti, who had just saved his friend’s life.




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        38.    When Defendants Rydeiski and Wallace exited
                                                           the building, Mr. Conforti was
using his vape pen.

       39.     From behind, Mr. Conforti heard the pair shou
                                                             ting at him.
       40.    As Mr. Conforti turned, he saw Defendants Rydels
                                                               ki and Wallace charging at him.
       41.    At this time, Defendant Wallace had his Taser draw
                                                                 n from its holster.
       42.    Defendant Rydeiski testified under oath on Februa
                                                               ry 25, 2019 that, at that moment
Mr. Confbrti was not being disorderly and was not
                                                  mouthing off to either Defendant Rydelski or
Defendant Wallace:




                                               8




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     Q           He wasn’t being disorderly out ther
                                                     e,                       right?
     A           At that point,         no.

     Q           Okay.    And he wasn’t mouthing off to you or
                                                               Officer
                 Wallace,     correct?

     A           I don’t remember the exact
                                            verbiage that he said,                               no.

           43.     Mr. Conforti feared for his life as the officers encroached
                                                                               on him, with at least one
 weapon drawn.

           44.     Defendants Rydeiski and Wallace saw that Mr. Confo
                                                                      rti had a vape pen in one of
 his hands.

           45.     Defendants Rydeiski and Wallace demanded that Mr.
                                                                     Conforti remove his other
 hand from its pocket.

           46.    In response to this demand, Mr. Conforti asked simply,
                                                                         “Why, I’m just vaping.”
          47.     Rather than answer Mr. Conforti’s valid question, Defend
                                                                           ants, at or about 11:41
pm, unlawfully grabbed him.

          48.     At that moment, there was no reason to suspect that Mr.
                                                                          Conforti was committing
a crime, or was about to commit a crime, or that Mr. Confo
                                                           rti was in any way a threat to the officers
or to anyone in the community. Again, he had just saved
                                                          his friend’s life.
          49.     Regardless, Defendants Rydelski and Wallace slammed
                                                                      Mr. Conforti’s face against
their squad car, chipping his tooth and breaking his glasses
                                                             .
          50.     The attack knocked the wind out of Mr. Conforti.

          51.     Exasperated, and with his mouth filling with blood, Mr.
                                                                          Conforti coughed.
          52.     Defendants “claimed” that Mr. Conforti had spit on
                                                                     them, and then slammed Mr.
Conforti’s face onto the ground, gashing his cheek open.



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              53.     Defendants continued to attack Mr. Conforti with
                                                                       strikes to the head and throat, and
  knee strikes to his torso.

          54.         Mr. Conforti feared that he would die in
                                                               the cold parking lot at the hands of
  Defendants Rydeiski and Wallace.

          55.         Eventually, Defendants Rydeiski and Wallace
                                                                  forced Mr. Conforti’s bleeding head
  into a muzzle.

          56.        The attack left Mr. Conforti beaten, bruised,
                                                                   and bloodied:




                                                    [   1




         57.        After they were through with him, at or about 12:03
                                                                        am, the Defendants bound and
restrained Mr. Conforti and returned him to
                                            the hospital on a wheel chair to receive med
                                                                                         ical
treatment.




        58.         Ironically, this was the same hospital that Mr.
                                                                    Beals was brought to earlier in the
evening, after Mr. Conforti saved his life.




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            59.      Subsequent to this attack on his body and his civil
                                                                         rights, Mr. Conforti has suffered
  immense mental trauma, including acute anxi
                                              ety, panic, and emotional harm.

            60.     As a result of the unlawful attack by Defe
                                                               ndants Rydelski and Wallace, Mr.
  Conforti developed Post Traumatic Stress Diso
                                                rder and continues to suffer.
      IV.         FIRST CLAIM FOR RELIEF AGAINST DEF
                                                     ENDANTS RYDELSKI AND
                    WALLACE VIOLATIONS OF THE FOU
                                 -
                                                   RTH AMENDMENT
            61.     Plaintiff realleges and incorporates by reference
                                                                      the allegations of all the preceding
 paragraphs.

         62.        At all relevant times herein, the above-named
                                                                  Defendants were “persons” for
 purposes of 42 U.S.C.      §   1983 and acted under color of state law to depr
                                                                                ive Mr. Conforti of his
 constitutional rights.

         63.       At all times material hereto, the Defendan
                                                              ts unlawfully arrested and used
unnecessary, excessive force, including but not
                                                limited to, grabbing, tackling, injuring his neck
and face, kneeling him, and slamming Mr. Con
                                              forti’s face into the side of their squad car, whil
                                                                                                  e
he was subdued in handcuffs.

        64.        That at the time the Defendants used excessive
                                                                  force there was no threat of death
or serious bodily harm to the officers or anyone in
                                                    the area.
        65.        That the Defendants’ conduct constituted viola
                                                                  tions of the Fourth Amendment,
including using excessive force without cause orjus
                                                    tification in violation of Mr. Conforti’s Fourth
Amendment Rmghts as incorporated by the Four
                                               teenth Amendment.

       66.        At all times material, the Defendants were FPD
                                                                 Officers acting under color of the
statutes, customs, ordinances, and usage of the Fran
                                                     klin and FPD and were acting in the scope of
their employment.




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          67.     That the described conduct of the part of the Defe
                                                                     ndants as set forth above was a
  cause of the plaintiff’s injuries, losses, and dam
                                                     ages as set forth herein.
          68.     The Defendant, Franklin, is liable pursuant to
                                                                 Wis. Stat.      §   805.46 for payment of
 any judgment entered against the individual emp
                                                   loyee Defendants in this action because said
 Defendants were acting within the scope of their
                                                  employment when they committed the unlawful
 acts described above.

        V.      SECOND CLAIM FOR RELIEF—FAILURE
                                                TO INTERVENE AGAINST
                          DEFENDANTS RYDELSKI AN]) WALLAC
                                                          E
         68.     Plaintiff realleges and incorporates by reference
                                                                   the allegations of all the preceding
 paragraphs.

        69.      By the time Defendants Rydelski and Wallace exite
                                                                   d the hospital, Mr. Conforti was
 not committing any crime, and there was no reaso
                                                  n to suspect that he had or was about to commit
 a crime.

        70.     Before Mr. Conforti suffered from the unlawful
                                                               arrest and abuse and excessive use
of force described above, the individual Defe
                                                  ndants individually and collectively, had man
                                                                                                  y
opportunities to intervene and prevent all the
                                               injuries and losses Mr. Conforti suffered as a resul
                                                                                                    t
of the unlawful conduct and excessive use of force
                                                    .
        71.     As a result of the individual Defendant Officers’ failu
                                                                        re to intervene, Mr. Conforti
suffered injuries, losses and damages as set forth here
                                                        in.
       72.      The Defendant Franklin is liable pursuant to Wis.
                                                                  Stat.    § 895.46 for payment of any
judgment entered against the individual emp
                                             loyee Defendants in this action because said
Defendants were acting within the scope of their
                                                 employment when they committed the acts
described above.




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                                   VI.     THIRD CLAiM FOR RELIEF

              73.     Plaintiff iealleges and incorporates by retérence
                                                                        all the allegations in the preceding
   paragraphs.

              74.    That the above-described conduct of all the indiv
                                                                      idual Defendants was        unlawful,
   extreme, malicious, outrageous and/or intentiona
                                                    l.
              75.    That such conduct was intended to cause Mr.
                                                                 Conforti unnecessary and severe
  personal physical and psychological and emotiona
                                                   l injuries.
              76.    That such conduct on the part of all the indiv
                                                                    idual Defendants was a cause of the
  severe personal injuries, physical and psycholo
                                                  gical and emotional, suffered by Mr. Conforti.
          77.     At all times material hereto, the individual Defe
                                                                    ndants acted maliciously and/or
  with reckless disregard and/or with deliberate
                                                      indifference towards Mr. Conforti or in an
  intentional disregard of his rights, such as to
                                                  subject all the individual Defendants to punitive
  damages.

         78.        The Defendant Franklin is liable pursuant to Wis.
                                                                      Stat.   § 895.46 for payment of any
 judgment entered against the individual emp
                                                 loyee Defendants in this action because
                                                                                         said
 Defendants were acting within the scope of their
                                                  employment when they committed the unlawful
 acts described above.

         WHEREFORE, the Plaintiff demands judg
                                               ment against the Defendants, jointly and
 severally, as follows:

         a.         Against Defendants Rydelski and Wallace in
                                                               their individual capacities, for
compensatory damages, for the violation of Mr.
                                                  Confortis constitutional rights, as set forth abov
                                                                                                     e,
in an amount to be determined at a trial of this matt
                                                      er




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             b.    Against Defendants Rydelski and Wallace for punitiv
                                                                       e damages for the violation
of Mr. Conforti’s constitutional rights, as set forth above,
                                                             in an amount to be determined at a trial
of this matter;

           c.     Against Defendant City of Franklin for its liability
                                                                       pursuant to Wis. Stat.   §   895.46
to indemnify the individual Defendants in an amount
                                                    to be determined at a trial of this matter;
           d.     Against Defendant LWMMI pursuant to its contrac
                                                                  tual liability for this matter,
stemming from its insurance policy covering the Defend
                                                       ants City of Franklin, Rydelski, and
Wallace.

        e.        For a declaration that Humana has no legal right to subrog
                                                                             ation or reimbursement.
        f.        For a declaration that ABC has no legal right to subrogation
                                                                               or reimbursement.
        g.        For all costs, disbursements and actual attorneys’ fees pursua
                                                                                 nt to 42 U.S.C.A.      §
1988, and for such other relief as the Court deems just and
                                                            equitable.
        PLAINTIFF HEREBY DEMANDS A JURY TRIAL
                                              BY SIX CITIZENS OF THIS
MATTER ON ALL ISSUES SO TRIABLE.

        Dated this 28th day of January, 2020.


                                                         GINGRAS, TI-{OMSEN & WACFIS, LLP
                                                                        Attorneys for Plaintiff

                                                Electronically flied by Attorney Scott B. Thompson
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